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 7
                             UNITED STATES DISTRICT COURT
 8
                          WESTERN DISTRICT OF WASHINGTON
 9
                                            AT TACOMA
10

11   STEPHANIE WILSON,           )               Case No.
12
                                 )
     Plaintiff,                  )               COMPLAINT FOR VIOLATION
13                               )               OF   FEDERAL   FAIR   DEBT
14          vs.                  )               COLLECTION PRACTICES ACT
                                 )
15
     LTD FINANCIAL SERVICES, LP, )
16                               )
     Defendant.                  )
17
                                 )
18

19                                     NATURE OF ACTION
20
            1.      This is an action brought under the Fair Debt Collection Practices
21
     Act (“FDCPA”), 15 U.S.C. § 1692 et seq., and the Telephone Consumer
22

23   Protection Act (“TCPA”), 47 U.S.C. § 227.
24
                                  JURISDICTION AND VENUE
25

26          2.      This Court has jurisdiction under 15 U.S.C. § 1692k(d), 47 U.S.C. §
27
     227(b)(3), 28 U.S.C. § 1331, and 28 U.S.C. § 1367(a).
     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-1                           WEISBERG & MEYERS, LLC
                                                               3877 N. Deer Lake Rd.
                                                               Loon Lake ,WA 99148
                                                               509-232-1882
                                                               866-565-1327 facsimile
                                                               jrobbins@AttorneysForConsumers.com
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 1          3.      Venue is proper before this Court pursuant to 28 U.S.C. §1391(b),
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     where the acts and transactions giving rise to Plaintiff’s action occurred in this
 3

 4   State and this district, where Plaintiff resides in this State and this district, and
 5
     where Defendant transacts business in this State and this district.
 6

 7                                          PARTIES
 8
            4.      Plaintiff, Stephanie Wilson (“Plaintiff”), is a natural person who at
 9
     all relevant times resided in the State of Washington, County of Clallam, and City
10

11   of Port Angeles.
12
            5.      Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
13

14          6.      Defendant, Ltd Financial Services, LP (“Defendant”) is an entity
15
     who at all relevant times was engaged, by use of the mails and telephone, in the
16

17
     business of attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C.

18   §1692a(5).
19
            7.      Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).
20

21                                  FACTUAL ALLEGATIONS
22
            8.      Plaintiff is a natural person obligated, or allegedly obligated, to pay a
23

24   debt owed or due, or asserted to be owed or due a creditor other than Defendant.
25
            9.      Plaintiff's obligation, or alleged obligation, owed or due, or asserted
26
     to be owed or due a creditor other than Defendant, arises from a transaction in
27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-2                               WEISBERG & MEYERS, LLC
                                                                   3877 N. Deer Lake Rd.
                                                                   Loon Lake ,WA 99148
                                                                   509-232-1882
                                                                   866-565-1327 facsimile
                                                                   jrobbins@AttorneysForConsumers.com
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 1   which the money, property, insurance, or services that are the subject of the
 2
     transaction were incurred primarily for personal, family, or household purposes.
 3

 4          10.      Defendant uses instrumentalities of interstate commerce or the mails
 5
     in a business the principal purpose of which is the collection of any debts, and/or
 6

 7   regularly collects or attempts to collect, directly or indirectly, debts owed or due,
 8
     or asserted to be owed or due another.
 9
            11.      Within one (1) year preceding the date of this Complaint, Defendant
10

11   made and/or placed a telephone call to Plaintiff’s cellular telephone number, in
12
     effort to collect from Plaintiff an obligation, or alleged obligation, owed or due,
13

14   or asserted to be owed or due a creditor other than Defendant.
15
            12.      Within one (1) year preceding the date of this Complaint, Defendant
16

17
     willfully and knowingly utilized an automatic telephone dialing system to make

18   and/or place a telephone call to Plaintiff’s cellular telephone number, in effort to
19
     collect from Plaintiff an obligation, or alleged obligation, owed or due, or asserted
20

21   to be owed or due a creditor other than Defendant.
22
            13.      Defendant, via its agent or employee Keith Cook, has placed several
23

24   calls to Plaintiff’s cellular telephone with the intent to harass, annoy, or abuse
25
     Plaintiff.
26

27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-3                             WEISBERG & MEYERS, LLC
                                                                 3877 N. Deer Lake Rd.
                                                                 Loon Lake ,WA 99148
                                                                 509-232-1882
                                                                 866-565-1327 facsimile
                                                                 jrobbins@AttorneysForConsumers.com
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 1          14.     During one of these phone calls on August 31, 2010 Plaintiff
 2
     requested that Defendant no longer contact her via telephone. Defendant falsely
 3

 4   represented that it did not have to cease telephonic communication with Plaintiff
 5
     until it received notice in writing to cease and desist.
 6

 7          15.     Furthermore, Defendant falsely represented that it could call Plaintiff
 8
     on a daily basis simply because Plaintiff had returned Defendant’s phone call. (15
 9
     U.S.C. §§ 1692d(5), 1692e(10)).
10

11          16.     Defendant repeatedly demanded payment from Plaintiff during the
12
     during the thirty-day dispute period following Plaintiff’s receipt of Defendant’s
13

14   initial communication dated July 31, 2010, conduct that was inconsistent with,
15
     and overshadowed, the disclosures required by 15 USC § 1692g(a). (15 U.S.C. §
16

17
     1692g(b)).

18          17.     Defendant placed multiple non-emergency calls to Plaintiff’s cellular
19
     telephone, without the prior express consent of Plaintiff, using an automatic
20

21   telephone dialing system including but not limited to calls on August 2, 2010 @
22
     12:10 P.M., August 10, 2010 @ 10:35 A.M., and August 31, 2010 @ 11:21 A.M.
23

24   (47 U.S.C. 227(b)(1)(A)(iii)).
25
            18.     Defendant’s actions constitute conduct highly offensive to a
26
     reasonable person.
27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-4                             WEISBERG & MEYERS, LLC
                                                                 3877 N. Deer Lake Rd.
                                                                 Loon Lake ,WA 99148
                                                                 509-232-1882
                                                                 866-565-1327 facsimile
                                                                 jrobbins@AttorneysForConsumers.com
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 1

 2                                          COUNT I
 3
            19.      Plaintiff repeats and re-alleges each and every allegation contained
 4

 5
     above.

 6          20.      Defendant violated the FDCPA as detailed above.
 7
            WHEREFORE, Plaintiff prays for relief and judgment, as follows:
 8

 9                a) Adjudging that Defendant violated the FDCPA;
10
                  b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,
11

12                   in the amount of $1,000.00;
13
                  c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;
14
                  d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in
15

16                   this action;
17
                  e) Awarding Plaintiff any pre-judgment and post-judgment interest as
18

19                   may be allowed under the law;
20
                  f) Awarding such other and further relief as the Court may deem just
21

22
                     and proper.

23                                          COUNT II
24
            21.      Plaintiff repeats and re-alleges each and every allegation contained
25

26   above.
27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-5                             WEISBERG & MEYERS, LLC
                                                                 3877 N. Deer Lake Rd.
                                                                 Loon Lake ,WA 99148
                                                                 509-232-1882
                                                                 866-565-1327 facsimile
                                                                 jrobbins@AttorneysForConsumers.com
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 1          22.      Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii) by willfully and
 2
     knowingly utilizing an automatic telephone dialing system to make and/or place a
 3

 4   telephone call to Plaintiff’s cellular telephone number.
 5
            WHEREFORE, Plaintiff prays for relief and judgment, as follows:
 6

 7                a) Adjudging that Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii);
 8
                  b) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. §
 9
                     227(b)(3)(B), in the amount of $500.00 per violation;
10

11                c) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. §
12
                     227(b)(3)(C), in the amount of $1,500.00 per violation;
13

14                d) Awarding Plaintiff actual damages, pursuant to 47 U.S.C. §
15
                     227(b)(3)(B);
16

17
                  e) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

18                   this action;
19
                  f) Awarding Plaintiff any pre-judgment and post-judgment interest as
20

21                   may be allowed under the law.
22

23

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     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-6                             WEISBERG & MEYERS, LLC
                                                                 3877 N. Deer Lake Rd.
                                                                 Loon Lake ,WA 99148
                                                                 509-232-1882
                                                                 866-565-1327 facsimile
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 1
                                            TRIAL BY JURY
 2
                    Plaintiff is entitled to and hereby demands a trial by jury.
 3

 4
                    Respectfully submitted this 10th day of November, 2010.
 5

 6

 7                                              s/Jon N. Robbins
 8                                              Jon N. Robbins
                                                WEISBERG & MEYERS, LLC
 9
                                                Attorney for Plaintiff
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     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-7                               WEISBERG & MEYERS, LLC
                                                                   3877 N. Deer Lake Rd.
                                                                   Loon Lake ,WA 99148
                                                                   509-232-1882
                                                                   866-565-1327 facsimile
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